            Case 3:20-cr-00289-BR        Document 1      Filed 07/30/20     Page 1 of 1




                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION


UNITED STATES OF AMERICA                                       00289-BR
                                                      3:20-cr-___________________

                 v.                                   INFORMATION

SABASTIAN DUBAR                                       18 U.S.C. § 111(a)(1)

                 Defendant.


                       THE UNITED STATES ATTORNEY CHARGES:

                                             COUNT 1
                                   (Assault on a Federal Officer)
                                      (18 U.S.C. § 111(a)(1))

          On or about July 30, 2020, in the District of Oregon, defendant SABASTIAN DUBAR

did forcibly assault Adult Victim 1 (AV1), a person designated as a federal officer under 18

U.S.C. § 1114, while AV1 was engaged in, and on account of the performance of AV1’s official

duties;

          In violation of Title 18, United States Code, Section 111(a)(1), a Class A misdemeanor.


Dated: July 30, 2020                                  Respectfully submitted,

                                                      BILLY J. WILLIAMS
                                                      United States Attorney

                                                      /s Parakram Singh__________________
                                                      Parakram Singh, OSB #134871
                                                      Assistant United States Attorney




Misdemeanor Information                                                                     Page 1
